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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   6     ANDRES GOMEZ,                                     Case No. 4:21-cv-07852-YGR
                                                        Plaintiff,                         ORDER TERMINATING THE CASE
                                   7
                                                 v.
                                   8

                                   9     ZACKERY SPEROW,
                                                    Defendant.
                                  10

                                  11          On June 9, 2022, the Court dismissed plaintiff’s complaint with leave to amend. The

                                  12   deadline for plaintiff to amend was June 23, 2022. Plaintiff was warned that failure to timely
Northern District of California
 United States District Court




                                  13   amend would result in dismissal with prejudice. Having failed to timely amend, the Court

                                  14   dismisses this case with prejudice.

                                  15          The Clerk is DIRECTED to terminate the case.

                                  16          IT IS SO ORDERED.

                                  17   Dated: June 24, 2022
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                                                                                            YVONNE GONZALEZ ROGERS
                                  19                                                       UNITED STATES DISTRICT JUDGE

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